                   Case 23-10931-CTG          Doc 75       Filed 08/08/23       Page 1 of 3




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


     In re:                                                    Chapter 11 (Subchapter V)
     ONH AFC CS INVESTORS LLC, et al.,1                        Case No. 23-10931 (CTG)
                            Debtors.                           (Jointly Administered)



                            NOTICE OF APPEARANCE AND
                     DEMAND FOR SERVICE OF NOTICES AND PAPERS

          PLEASE TAKE NOTICE that the attorneys set forth below hereby appear on behalf of Mr.

Elchonon "Elie" Schwartz and Nightingale Properties LLC (collectively, the "Schwartz

Nightingale Parties") and demand, pursuant to rules 2002, 9007 and 9010(b) of the Federal Rules

of Bankruptcy Procedure (the "Bankruptcy Rules") and sections 1109(b) and 342 of Title 11 of the

United States Code (the "Bankruptcy Code"), that all notices given in the above-captioned cases

and all papers served or required to be served in the above-captioned cases be given to and served

upon the undersigned counsel at the addresses set forth below:

    Thomas M. Wearsch                                         Zachary I. Shapiro (No. 5103)
    JONES DAY                                                 Emily R. Mathews (No. 6866)
    250 Vesey St.                                             RICHARDS, LAYTON & FINGER, P.A.
    New York, NY 10281                                        One Rodney Square
    Telephone: (212) 326-3939                                 920 North King Street
    Email: twearsch@jonesday.com                              Wilmington, Delaware 19801
                                                              Telephone: 302-651-7700
    Matthew C. Corcoran                                       Facsimile: 302-651-7701
    JONES DAY                                                 Email: shapiro@rlf.com
    325 John H. McConnell Blvd., Suite 600                           mathews@rlf.com
    Columbus, Ohio 43215
    Telephone: (614) 469-3939
    Facsimile: (614) 461-4198
    Email: mccorcoran@jonesday.com


1
 The last four digits of the Debtors' federal tax identification numbers are 1199 (ONH AFC CS Investors LLC) and
6326 (ONH 1601 CS Investors LLC). The Debtors' mailing address is 3445 Peachtree Road, Suite 1225 Atlanta, GA
30326.


RLF1 29420604v.2
                   Case 23-10931-CTG       Doc 75    Filed 08/08/23     Page 2 of 3




         PLEASE TAKE FURTHER NOTICE that the foregoing demand includes not only the

notices and papers referred to in the Bankruptcy Rules, but also includes, without limitation, orders

and notices of any application, motion, petition, pleading, request, complaint, or demand, whether

formal or informal, whether written or oral and whether transmitted or conveyed by mail, delivery,

telephone, electronic mail or otherwise.

         PLEASE TAKE FURTHER NOTICE that this appearance and demand for notice is neither

intended as nor is it a consent of the Schwartz Nightingale Parties to the jurisdiction and/or venue

of the Bankruptcy Court nor, specifically, but not limited to, a waiver of (i) the Schwartz

Nightingale Parties' rights to trial by jury in any proceeding so triable herein, or in any case,

controversy or proceeding related hereto, (ii) the Schwartz Nightingale Parties' rights to have an

Article III judge adjudicate in the first instance any case, proceeding, matter or controversy as to

which a bankruptcy judge may not enter a final order or judgment consistent with Article III of the

United States Constitution, (iii) the Schwartz Nightingale Parties' rights to have the reference

withdrawn by the District Court in any case, proceeding, matter or controversy subject to

mandatory or discretionary withdrawal or (iv) any other rights, claims, actions, defenses, set-offs,

or recoupments to which the Schwartz Nightingale Parties are or may be entitled to under any

agreement, in law, or in equity, all of which rights, claims, actions, defenses, set-offs, and

recoupments the Schwartz Nightingale Parties expressly reserve.




                                                 2
RLF1 29420604v.2
                   Case 23-10931-CTG   Doc 75     Filed 08/08/23   Page 3 of 3




 Dated: August 8, 2023                          /s/ Zachary I. Shapiro
        Wilmington, DE                          Zachary I. Shapiro (5103)
                                                Emily R. Mathews (6866)
                                                RICHARDS, LAYTON & FINGER, P.A.
                                                One Rodney Square
                                                920 North King Street
                                                Wilmington, Delaware 19801
                                                Telephone: 302-651-7700
                                                Facsimile: 302-651-7701
                                                Email: shapiro@rlf.com
                                                        mathews@rlf.com
                                                -and-

                                                Thomas M. Wearsch (pro hac vice pending)
                                                JONES DAY
                                                250 Versey St.
                                                New York, NY 10281
                                                Telephone: (212) 326-3939
                                                Email: twearsch@jonesday.com

                                                -and-

                                                Matthew C. Corcoran (pro hac vice pending)
                                                JONES DAY
                                                325 John H. McConnell Blvd., Suite 600
                                                Columbus, Ohio 43215
                                                Telephone: (614) 469-3939
                                                Facsimile: (614) 461-4198
                                                Email: mccorcoran@jonesday.com

                                                Counsel for Mr. Elchonon "Elie" Schwartz and
                                                Nightingale Properties, LLC




                                            3
RLF1 29420604v.2
